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              UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE; CLAIRE R. KELLY,
JENNIFER CHOE-GROVES, JUDGES

                                            :
                                            :
IN RE SECTION 301 CASES                     : Court No. 21-00052-3JP
                                            :
                                            :

DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS, RESPONSE
TO PLAINTIFFS’ CROSS-MOTION FOR JUDGMENT ON THE AGENCY RECORD,
        AND RESPONSE TO AMICUS CURIAE SUPPORTING BRIEFS

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                   UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE; CLAIRE R. KELLY,
JENNIFER CHOE-GROVES, JUDGES
_________________________________________
                                          :
                                          :
IN RE SECTION 301 CASES                   : Court No. 21-00052-3JP
                                          :
__________________________________________:

DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS, RESPONSE
TO PLAINTIFFS’ CROSS-MOTION FOR JUDGMENT ON THE AGENCY RECORD,
        AND RESPONSE TO AMICUS CURIAE SUPPORTING BRIEFS

         Pursuant to Rule 12(b)(6) of the Rules of the United States Court of International Trade,

defendants, the United States et al., respectfully submit this reply in support of our motion to

dismiss (Def. Mot.), and response to plaintiffs’ HMTX Industries LLC, Halstead New England

Corporation, Metroflor Corporation, and Jasco Products Corporation (collectively, “plaintiffs”)

cross-motion for judgment on the agency record (Pl. Cross-Mot.), ECF No. 358. We also

respond to the three briefs filed by amicus curiae on August 9, 2021. See ECF No. 362 (Amicus

Curiae Brief of Interested Parties or Am. Br.); ECF No. 373-2 (Amicus Curiae Brief of Retail

Litigation Center, Inc. et. al. or RLC Br.); ECF No. 374 (Amicus Curiae Brief of Ecolab Inc. et.

al. or Ecolab Br.). Where the amicus briefs overlap with the arguments raised by plaintiffs, we

address the arguments together; we address the non-overlapping arguments that were raised by

the Interested Party Plaintiffs (IPPS) separately in Section IV of the Argument section of this

brief.

                                        INTRODUCTION

         Plaintiffs challenge two actions taken by the Office of the United States Trade

Representative (USTR), at the direction of the President, to address China’s policies regarding

forced technology transfer and to allow U.S. entities fairly to conduct business with China.
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Plaintiffs allege that these actions, the imposition of special duties on imports from China, were

unauthorized under sections 301 and 307 of the Trade Act of 1974 (Trade Act) and violated the

Administrative Procedure Act (APA). Plaintiffs do not contest the initial primary action taken

against China under section 301. Indeed, they concede, as they must, that the first two tranches

of duties were validly imposed. However, plaintiffs find fault with the third and fourth sets of

duties (List 3 and List 4A), which were imposed after China not only refused to cease its adverse

practices, but also caused additional harm to U.S. commerce.

       As our opening motion demonstrated, plaintiffs’ claims fail because they challenge

unreviewable presidential action that is not subject to the APA. The tariff actions are wholly

discretionary, nonjusticiable determinations made pursuant to a statute with no “judicially

discoverable and manageable standard[.]” Baker v. Carr, 369 U.S. 186, 217 (1962). Even if

reviewable, the tariff actions were authorized by section 307 of the Trade Act, which grants the

Executive Branch broad discretion to modify an action when the burden on U.S. commerce from

a foreign nation’s unfair trade practices has increased or decreased, or the prior section 301

action is “no longer appropriate.” 19 U.S.C. §§ 2411(b)(2), 2417(a)(1)(C).

       Plaintiffs’ cross-motion for judgment only confirms that the challenged actions were

unreviewable, highly-discretionary determinations by the Executive Branch. While plaintiffs

liken this case to other trade actions reviewed by this Court, none of those actions was taken at

the direction of the President, pursuant to a statute explicitly granting him authority to direct

agency action, as with the issuance of Lists 3 and 4A under section 307. Further, although

plaintiffs try to characterize this case as a “pure question[] of statutory interpretation,” Pl. Cross-

Mot. at 39, they repeatedly ignore section 307’s broad grant of discretion to determine an

“appropriate” action, which presents an unreviewable, political question.




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       Plaintiffs misinterpret section 307 in other ways as well. Although they spend much of

their brief identifying what they claim to be the “impermissible considerations” that gave rise to

Lists 3 and 4A, Pl. Cross-Mot. at 60, they fail to demonstrate that any of these considerations

were improper under section 307. Also, plaintiffs urge the Court to interpret section

307(a)(1)(C) only to allow eliminations or reductions — but not increases — in trade actions,

even though such a limitation would contravene the plain text of the statute, its legislative

history, and the overall purpose of section 301. In any event, the challenged actions are

independently authorized by section 307(a)(1)(B). Plaintiffs’ reading is also contrary to a recent

decision in which the Federal Circuit rejected a statutory interpretation that also would have

“disable[d] the President from acting” and disregarded Trade Act amendments intended to

“produc[e] more action, not less.” Transpacific Steel LLC v. United States, 4 F.4th 1306, 1329,

1331 (Fed. Cir. 2021).

       Finally, plaintiffs raise myriad arguments alleging that the issuance of Lists 3 and 4A

violated the APA. However, the APA does not require the procedures they claim were required,

including public hearings with trial-like proceedings, specific timetables to prepare rebuttal

comments, and copious responses from the USTR to thousands of public comments. The USTR

followed the necessary procedural guarantees of notice and a meaningful opportunity to be heard

before issuing Lists 3 and 4A. Nothing further was required to implement additional, critical

actions designed to protect U.S. trade interests.

                                           ARGUMENT

I.     Plaintiffs’ Claims Regarding The Challenged Tariff Actions Are Not Justiciable

       As we explained in our opening motion, the issuance of Lists 3 and 4A constitutes

unreviewable presidential action and presents a nonjusticiable political question. Def. Mot. at

21-30. Plaintiffs raise a number of arguments in response, none of which has merit.


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       A.      The Challenged Tariff Actions Constitute Unreviewable Presidential Action

       In our opening motion, we established that it was the President’s decision to issue Lists 3

and 4A in response to China’s aggressive response to the initial 301 action and that longstanding

precedent confirms that the substance of presidential action is unreviewable. Def. Mot at 21-25;

see also Florsheim Shoe Co. v. United States, 744 F.2d 787, 797 (Fed. Cir. 1984) (“The

President’s findings . . . and the motivations for his actions are not subject to review”); Michael

Simon Design, Inc. v. United States, 609 F.3d 1335, 1338 (Fed. Cir. 2010) (finding the

President’s actions unreviewable under the APA); Corus Grp. PLC v. Int’l Trade Comm’n, 352

F.3d 1351, 1359 (Fed. Cir. 2003) (recognizing that the APA does not authorize action against the

President); Motions Sys. Corp. v. Bush, 437 F.3d 1356, 1360 (Fed. Cir. 2006) (declining to

exercise judicial review where there was no “colorable claim” the President exceeded his

statutory authority).

       Plaintiffs claim that they “plainly challenge final agency action taken by USTR” and

subject to the APA. Pl. Cross-Mot. at 47. As support for their position, they extract language

from the Federal Register notices announcing Lists 3 and 4, which state that the “Trade

Representative[] has determined to modify the prior action in this investigation by imposing

additional duties on products of China.” Id. Yet plaintiffs omit additional language repeated

throughout both notices stating that the USTR was acting “[i]n accordance with the specific

direction of the President.”1 Thus, it is untrue that “there is no dispute that USTR actually took




1
 Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to
Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 47,974, 47,974-75
(U.S. Trade Rep. Sept. 21, 2018) (Notice Imposing List 3) (emphasis added); Notice of
Modification to Section 301 Action: China’s Acts, Policies, and Practices Related to Technology
Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 43,304, 43,304-05 (U.S. Trade
Rep. Aug. 20, 2019) (Notice Imposing List 4) (emphasis added).


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the final agency actions promulgating List 3 and List 4.” Pl. Cross-Mot. at 47. Instead, it is

evident that these were presidential actions.

       Plaintiffs also note that “the 1988 amendments to the statute specifically transferred

authority under the section 301 statute from the President to USTR.” Id. (citing H.R. REP. NO.

100-567 at 551 (1988)). But as the plain text of section 307 makes clear, Congress did not

transfer all authority under the statute to the USTR. The USTR is still subject to “the specific

direction, if any, of the President” when it modifies or terminates an action pursuant to section

307(a)(1). 19 U.S.C. § 2417(a)(1). Consequently, plaintiffs’ assertion that this language would

transform all agency action into presidential action, or “permanently insulat[e] from judicial

review” all actions taken by the USTR, is incorrect. Pl. Cross-Mot. at 48. Rather, section

307(a)(1) expressly authorizes the President to exercise his discretion to direct action under this

provision, and when he does, the action constitutes presidential action.

       Here, the President provided ample direction to the USTR. Def. Mot. at 22-23. Citing

the President’s statements throughout their brief, plaintiffs acknowledge that the President played

a significant role in the actions at issue. Pl. Cross-Mot. at 7, 10, 11, 12, 15, 16, 17, 19, 21 (citing

the President’s statements throughout the “Factual Background” section); see also id at 17

(referring to a meeting between the Presidents of the United States and China concerning List 3);

cf. Dep’t of Transp. v. Pub. Citizen, 541 U.S. 752, 766-69 (2004) (recognizing that presidential

action was not subject to the provisions of the National Environmental Policy Act of 1969

(NEPA), and that NEPA did not apply to the agency’s compliance with the President’s

directions). Yet, plaintiffs now ask this Court to ignore the President’s involvement in the

challenged actions.




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       It is also irrelevant that the Court reviewed actions of the USTR in a case involving a

different provision of section 307 and different facts and circumstances. Pl. Cross-Mot. at 47-48

(discussing Gilda Indus., Inc. v. United States, 622 F.3d 1358 (Fed. Cir. 2010) (Gilda II)).

Contrary to plaintiffs’ assertion that Gilda II involved the same Trade Act authority that is at

issue in this case, Pl. Cross-Mot. at 47, the specific question in Gilda II implicated a provision of

section 307 that is not at issue here. Unlike sections 307(a)(1)(B) and (C), the relevant statutory

provision at issue in Gilda II does not subject the USTR’s authority to “the specific direction, if

any, of the President.” Compare 19 U.S.C. § 2417(c)(1)(A) with 19 U.S.C. § 2417(a)(1)(B), (C).

Moreover, the disputed retaliation list at issue in Gilda II did not involve the President, whereas

again, as plaintiffs acknowledge, the President directed the issuance of Lists 3 and 4A. Pl.

Cross-Mot. at 47.

       Nor is plaintiffs’ assertion correct that this Court has reviewed cases involving “more

direct Presidential action than at issue in this case.” Pl. Cross-Mot. at 49. Plaintiffs cite, for

example, Silfab Solar Inc. v. United States, 296 F. Supp. 3d 1295, 1302 (Ct. Int’l Trade), aff’d

892 F.3d 1340 (Fed. Cir. 2018), see Pl. Cross-Mot. at 49. But as this Court explained in that

case, there is a difference between claims that involve “the [agency’s] failure to reach agreement

[on,], and report to the President,” which are “judicially reviewable,” see id. at 1302, and claims

“reduced to a challenge to a decision Congress committed to the President's discretion,” which

are not reviewable. Id. at 1302-03. Plaintiffs also cite to Corus Group PLC v. International

Trade Commission, 352 F.3d 1351, 1359-60 (Fed. Cir. 2003) for support, but the importers in

Corus did not challenge the President’s exercise of discretion itself; rather, they challenged

whether there was a tie vote among commissioners at the International Trade Commission,




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which was required for the President to exercise his authority under 19 U.S.C. § 1330(d) (2000).

Corus, 352 F.3d at 1356, 1358.

       Plaintiffs cite other cases involving reviewable actions that involved the President, but

these simply demonstrate that courts do not review the substance of the President’s actions and

apply a heightened standard of review when evaluating whether “statutory language . . . limits

the President,” such as when his authority depends on a non-discretionary prerequisite such as a

specific finding from an agency, see Severstal Exp. GMBH v. United States, No. 18-00057, 2018

WL 1705298, at *7 (Ct. Int’l Trade Apr. 5, 2018) (internal citations omitted), or a time limit. See

PrimeSource Bldg. Prod., Inc. v. United States, 505 F. Supp. 3d 1352, 1357 (Ct. Int’l Trade

2021), appeal docketed, No. 21-94 (Fed. Cir. Aug. 2, 2021). Pl. Cross-Mot. at 49. 2 Here,

conversely, no such statutory limit exists because section 307 grants the President broad

discretion to modify a section 301 action. See, e.g., Silfab Solar, 296 F. Supp. 3d at 1318 (“[t]he

exercise of the President’s judgment . . . is not subject to review by the court.”) (internal

quotations omitted).

       The remaining cases that plaintiffs cite are also easily distinguishable; none involved

circumstances in which the President exercised discretion committed to him (rather than a

federal agency) by statute. Pl. Cross-Mot. at 47-48. For example, Almond Bros. Lumber Co. v.

United States, 721 F.3d 1320, 1326 (Fed. Cir. 2013), involved a challenge to an agreement

negotiated by the USTR under section 301(c), which grants discretion to the USTR — and only

the USTR — to determine what actions are “appropriate.” And Invenergy Renewables LLC v.

United States, 422 F. Supp. 3d 1255 (Ct. Int’l Trade 2019), concerned the USTR’s decision to




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  See infra Section II.A of the Argument section of this brief for a discussion of this heightened
standard of review; see also Def. Mot. at 23, 30-31 (discussing the standard).


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exclude certain products from safeguard duties, not presidential action with respect to the duties

themselves. Also, O.A. v. Trump, 404 F. Supp. 3d 109 (D.D.C. 2019), challenged a rule by the

Department of Homeland Security issuing new asylum criteria, not presidential action.

        Finally, plaintiffs note that “all Executive Branch agencies act at presidential ‘direction’

(whether explicitly or implicitly).” Pl. Cross-Mot. at 50. But that is overly simplistic and misses

the point. Congress may and frequently does authorize specific officers to make

recommendations and decisions in implementing particular statutes, and in such instances that

official must make the decision, even though he or she reports to the President. Here, however,

Congress delegated only some authority to the USTR while reserving to the President the power

to direct certain actions. Thus, the challenged actions here do not constitute presidential action

merely because the USTR is part of the Executive Branch. Rather, the issuance of Lists 3 and

4A qualifies as presidential action because the USTR acted, as Congress intended, pursuant to

the “specific direction, if any, of the President.” 19 U.S.C. § 2417(a)(1).3

        B.      The Challenged Tariff Actions Are Unreviewable Because
                This Case Presents A Nonjusticiable Political Question

        In our opening motion, we also demonstrated that the challenged actions are not

justiciable and are thus unreviewable because determining what is an “appropriate” response to

subsequent unfair actions taken by China involves issues that are committed to another branch of

government, and the statute contains language that does not lend itself to judicial review. Def.

Mot at 25-30 (citing, e.g., Baker, 369 U.S. at 217). Plaintiffs respond that they “do not challenge

any purely discretionary determinations by USTR (or by the President),” and seek only

application of “the traditional rules of statutory construction.” Pl. Cross-Mot. at 26, 34, 50-52.


3
 The USTR selected the specific products for the lists, but plaintiffs are not contesting the
contents of the lists; rather, they are contesting the decision to issue the lists at all — a decision
made by the President.


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       As explained in detail below and in our opening motion, see Def. Mot. at 35-37, the plain

text of section 307(a)(1)(C) grants the Executive Branch broad discretion to modify a section 301

action without limiting its authority only to reduce or terminate an action. Pl. Cross-Mot. at 34.

Thus, there is no need to go further than what the statute says on its face because the statute

clearly allows the President (or the USTR) to decide what is “appropriate,” and commits that

determination to the Executive Branch’s discretion.

       Plaintiffs cite Gilda II to argue “[a] potential for the Court’s decision to have some sort of

impact on U.S. trading relations [does] not render the claims nonjusticiable.” Pl. Cross-Mot. at

52-53. Our position is not, however, that plaintiffs’ claims are unreviewable simply because

they may impact U.S. trading relations with China. Challenges that may impact U.S. trading

relations may be reviewable, provided that they arise under a statute with a “judicially

discoverable and manageable standard[.]” Baker, 369 U.S. at 217. Gilda II is one such example,

because whether a lack of notice under 19 U.S.C. § 2417(c)(2) precludes the automatic

termination of the retaliatory duties under 19 U.S.C. § 2417(c)(1) presents a judicially

manageable standard. Gilda II, 622 F.3d at 1362-67. Here, once again, the issuance of Lists 3

and 4A is unreviewable because the highly discretionary determination of what constitutes

“appropriate” action is plainly an issue that is reserved to the Executive Branch.

       It is also irrelevant that plaintiffs do not ask the Court to “create trade policy” or “review

complex and on-going negotiations regarding trade agreements.” Pl. Cross-Mot. at 52 (citing

Def. Mot. at 30). The challenged tariff actions concern a significant trade program that, if set

aside, would have repercussions for the United States’ national interests, national economy, and

credibility with foreign nations. Indeed, the so-called “prudential considerations” outlined in our

opening motion underlie the very reason for the political question doctrine in the first place. Pl.




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Cross-Mot. at 52 (citing Def. Mot. at 29-30) (areas of foreign affairs “uniquely demand [a]

single-voiced statement of the Government’s views”).

       The statute’s lack of a judicially manageable standard further demonstrates that issues of

whether an initial action is “no longer appropriate” under section 307(a)(1)(C) is committed to

the Executive Branch to resolve. Baker, 369 U.S. at 210; Heckler v. Chaney, 470 U.S. 821, 831

(1985) (lack of a judicially manageable standard makes an action unreviewable under the APA).

Similar to the facts presented in Almond Brothers, in which the determination of a “satisfactory”

action under section 301(c)(1)(D)(iii)(I) was found to be unreviewable, Def. Mot. at 28, here too,

the equally discretionary determination of an “appropriate” action under section 307 is also

“beyond judicial review.” Almond Bros., 721 F.3d at 1327; see also 19 U.S.C. §§ 2411(b)(2);

2417(a)(1)(C).

       Moreover, the fact that the APA may present “judicially manageable standards,”

assuming the action in this case is subject to the APA, does not make an unreviewable claim

somehow reviewable. Pl. Cross-Mot. at 51. If a case presents an unreviewable political

question, then no review of those claims is available under the APA. Heckler v. Chaney, 470

U.S. at 828; see also Mobarez v. Kerry, 187 F. Supp. 3d 85, 97 (D.D.C. 2016) (“the question that

Plaintiffs’ APA claim poses . . . would necessarily require the court to answer a

nonjusticiable political question.”). Only the “specific statutory provisions involved” — here,

sections 301 and 307 of the Trade Act — determine whether a claim is justiciable. Briscoe v.

Bell, 432 U.S. 404, 414 (1977); see also Dickson v. Sec’y of Def., 68 F.3d 1396, 1404 (D.C. Cir.

1995); Watervale Marine Co. v. U.S. Dep’t of Homeland Sec., 807 F.3d 325 (D.C. Cir. 2015).

Holding otherwise would allow the APA to swallow the political question doctrine.




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II.    Plaintiffs’ Arguments Regarding The Scope Of The Executive Branch’s
       Authority Under Section 307 Lack Merit

       Plaintiffs spend much time purporting to present a “plain-text reading” of section 307.

Pl. Cross-Mot. at 42. In reality, they set forth a complicated interpretation based on conjecture

and language outside of the relevant statutory provisions. Plaintiffs also argue that China’s

actions giving rise to Lists 3 and 4A did not justify the Executive Branch’s exercise of its

modification authority under section 307. Id. at 25. None of these arguments are persuasive.

       Importantly, for the reasons discussed above, the substance of the actions in this case are

not reviewable. Even if some form of review were available, however, plaintiffs are incorrect

that under Chevron v. Natural Resources Defense Council, 467 U.S. 837 (1984), “no deference

to the Government is appropriate.” Pl. Cross-Mot. at 41. As we explained in our opening

motion, and as we explain below, to the extent the President’s (or the USTR’s) actions are

reviewable, Chevron does not apply. Instead, the Court applies a heightened standard of review,

which limits the proper legal standard of review to determining whether there was a “clear

misconstruction of the governing statute” or “action outside delegated authority.” Def. Mot. at

23, 30-31 (citing, e.g., Maple Leaf Fish Co. v. United States, 762 F.2d 86, 89 (Fed. Cir. 1985);

Silfab Solar, Inc. v. United States, 892 F.3d at 1346); see also Gilda II, 622 F.3d at 1363

(applying the same heightened standard of review when reviewing the USTR’s conclusion that a

retaliation list had not terminated under section 307(c)). But even under the Chevron, Lists 3 and

4A were authorized under section 307.

       A.      Plaintiffs Advocate For An Incorrect Standard Of Review That
               Disregards Controlling Federal Circuit Precedent

       As explained in our opening motion, in cases involving either the President or “decisions

of the Trade Representative implicating the discretionary authority of the President in matters of

foreign relations,” the Federal Circuit reviews the challenged decision, if at all, to determine


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whether there is a “clear misconstruction of the governing statute, a significant procedural

violation, or action outside delegated authority.” Gilda II, 622 F.3d at 1363 (quoting Maple

Leaf, 762 F.2d at 89); see also Def. Mot. at 3-4 (explaining the relationship of the USTR to the

President).

       Here, the relevant statutory provisions are clear and support upholding the President’s

(and the USTR’s) decisions in promulgating Lists 3 and 4A. See Def. Mot. at 30-37; see also 19

U.S.C. § 2417(a)(1)(B), (C). Specifically, sections 307(a)(1)(B) and (C) provide the President

(and the USTR) with the discretion to modify an action initially taken under section 301(b) when

the offending country refuses to cease its unlawful practices and, adopts new measures intended

to pressure the United States to drop its 301 action, or otherwise increases the burden of the

unlawful practices on U.S. commerce. Def. Mot. at 2, 30-37. Thus, there is no “clear

misconstruction of the governing statute,” Maple Leaf, 762 F.2d at 89. And, to the extent

Chevron is relevant, the Court should “give effect to the unambiguously expressed intent of

Congress.” Chevron, 467 U.S. at 842-43. Or, if the Court concludes that the statute is

ambiguous, with respect to the questions of statutory interpretation at issue, judgment must still

be entered in our favor.

       It is also inaccurate to characterize this case as involving only “pure questions of

statutory interpretation.” Pl. Cross-Mot. at 39. This case involves actions taken by the

Executive Branch pursuant to a statute that affords the President (and the USTR) broad

discretion. But even if this case did involve pure questions of statutory interpretation, the Court

should still apply a heightened standard of review. Silfab Solar, 892 F.3d at 1346 (citing Maple

Leaf’s “clear misconstruction” standard with approval). In fact, the Gilda II decision that

articulated the same standard of review articulated in Maple Leaf in the section 301 context




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involved questions of statutory interpretation. See Gilda II, 622 F.3d at 1363 (quoting Chevron,

467 U.S. at 843 n.9). Thus, although the judiciary “is the final authority on issues of statutory

construction,” see Gilda II 622 F.3d at 1363 (quoting Chevron, 467 U.S. at 843 n.9), the Court

still must apply a higher standard of review here.

       Plaintiffs cite Transpacific Steel LLC v. United States as an example of a court “resolving

[a] statutory construction question de novo, without reference to ‘clear misconstruction’ standard

or deference to Executive Branch interpretation.” Pl. Cross-Mot. at 39 (citing Transpacific,

4 F.4th at 1318). But the de novo standard of review that plaintiffs cite in Transpacific

referenced the appellate court’s standard for reviewing the lower court’s decision, not the level

of deference afforded to questions of statutory interpretation. When the Federal Circuit reviews

an issue de novo, it “appl[ies] anew the same standard of review used by the Trade Court.”

Fedmet Res. Corp. v. United States, 755 F.3d 912, 918 (Fed. Cir. 2014). And in reviewing issues

de novo in Transpacific, the Federal Circuit applied the same deferential standard that the trial

court applied to the Executive Branch decisions at issue. See Transpacific Steel LLC v. United

States, 466 F. Supp. 3d 1246, 1251 (Ct. Int’l Trade 2020) (reviewing actions for a “clear

misconstruction of the governing statute, a significant procedural violation, or action outside

delegated authority”) (citing Maple Leaf, 762 F.2d at 89), rev’d and remanded, 4 F.4th 1306

(Fed. Cir. 2021).

       Plaintiffs also argue that the Court should grant no deference to the Government’s

interpretation of the relevant statutory provisions because “USTR failed to develop or explain its

expansive interpretation of its own authority during notice-and-comment rulemaking.” Pl.

Cross-Mot. at 41. This is untrue. The USTR explained the basis for its authority at length in the

decision memoranda accompanying both Lists 3 and 4A, both of which are part of the




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administrative record. See PR-1 at 4-7 (explaining that section 307(a)(1)(B) “explicitly refers to

an increase in the level of trade harm,” that section 307(a)(1)(C) “links back” to the USTR’s

discretionary authority under section 301(b) to take all “appropriate” action, and that section

301(a)(1)’s reference to “modify” encompasses “not only decreases, but increases, of the

underlying trade action”); see also PR-09 at 3-5 (same).

       As we explain below, and in our opening motion, see Def. Mot. at 30-38, either section

307(a)(1)(B) or 307(a)(1)(C) was sufficient to justify the decision of the USTR (acting at the

President’s direction) to issue Lists 3 and 4A. Those provisions support the challenged actions

and at a minimum satisfy the substantial deference analysis articulated in Maple Leaf. Indeed,

Lists 3 and 4A pass muster even under plaintiffs’ proposed standard of review.

       B.      Section 307(a)(1)(B) Authorized Lists 3 And 4A

       The President (and the USTR) had clear authority to issue Lists 3 and 4A under section

307(a)(1)(B), which authorizes an action under section 301 to be modified if “the burden or

restriction on United States commerce of . . . the acts policies, and practices, that are the subject

of such action has increased or decreased.” In issuing both lists, the USTR, acting at the

President’s direction, made the required finding that the burden on U.S. commerce had increased

as a result of China’s unfair trade practices, and its “subsequent defensive actions taken to

maintain” those practices. Def. Mot. at 13, 16; see also Notice Imposing List 3, 83 Fed. Reg. at

47,974; Notice Imposing List 4, 84 Fed. Reg. at 43,304. Plaintiffs’ and Ecolab’s claim that the

President or the USTR could not rely on section 307(a)(1)(B) because China’s subsequent

defensive actions were not “‘the subject of’ the section 301 action [that] has increased or

decreased,” is misplaced. Pl. Cross-Mot. at 31 (emphasis in original); Ecolab Br. at 5, 11-12.




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       Contrary to plaintiffs’ and Ecolab’s assertions, Lists 3 and 4A were not issued solely

because of China’s subsequent defensive measures. Pl. Cross-Mot. at 33 (alleging that there was

no “escalation of the investigated practices themselves.”); Ecolab Br. at 11-12. Rather, the

USTR did find that China’s investigated unfair trade practices had worsened, and that they were

causing increased harm to United States commerce. Notice Imposing List 3, 83 Fed. Reg. at

47,974; Notice Imposing List 4, 84 Fed. Reg. at 43,304; see also PR-01 at 6 (“the burden or

restriction on United States commerce. . . continues to increase,” including from “China’s unfair

actions in acquiring hybrid vehicle technology from Toyota”); PR-09 at 3 (“the burden or

restriction on United States commerce of the acts, policies, and practices that are the subject of

the Section 301 action continues to increase.”).

       Moreover, China’s defensive actions were not distinct from its investigated unfair trade

practices. As the notices accompanying Lists 3 and 4 explained, China sought to pressure the

President and the USTR to drop the section 301 action by adopting additional tariffs and other

measures, such as the devaluation of its currency. Notice Imposing List 3, 83 Fed. Reg. at

47,974-75; Notice Imposing List 4, 84 Fed. Reg. at 43,304-05. Thus, the subsequent defensive

measures by China that gave rise to Lists 3 and 4A were directly related to the section 301

investigation, as their ultimate goal was perpetuating China’s investigated unfair trade practices.

       Plaintiffs’ attempt to characterize the section 301 investigation as “narrowly focused”

(see Pl. Cross-Mot. at 32) is unfounded. The investigated unfair trade practices encompass

China’s massive “top-down national strategy,” unfairly to acquire U.S. technology, “in which

implementation requires the mobilization and participation of all sectors of society and the




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integration of civil and military resources.”4 These practices “work collectively as part of a

multi-faceted strategy to advance China’s industrial policy objectives . . . and are implemented

through a diverse set of state and state-backed actors, including state-owned enterprises.” Id. at

17. The Court should reject plaintiffs’ attempt to mischaracterize the section 301 investigation

as involving a limited and discrete set of practices.

       Plaintiffs also contend that Section 307’s “modification” authority cannot encompass

actions designed to respond to retaliatory acts because – according to plaintiffs – section 306 of

the Trade Act, explicitly grants “explicit ‘retaliation’ authority.” Pl. Cross-Mot. at 32-33

(discussing section 306(b)(2)). Section 306(b)(2), however, does not actually use the phrase

“retaliation authority.” Regardless, section 306 is irrelevant here.

       Section 306(b)(2) is implicated when a foreign nation fails to implement a

recommendation of the World Trade Organization (WTO) and has no applicability to

discretionary modifications of actions under section 301(b) involving unfair trade acts.

19 U.S.C. § 2416(b)(2). Section 306 was amended in 1994 to include what is now section

306(b)(2)(A), as part of the Uruguay Round Agreements Act (URAA), Pub. L. No. 103-465

§ 314, 108 Stat. 4809 (1994); however, the precise quotation cited on page 33 of plaintiffs’ brief

is from revisions made as a result of the Trade and Development Act of 2000, Pub. L. No. 106-

200, 114 Stat. 251. The Statement of Administrative Action (SAA), which accompanied the

United States’ adoption of the URAA, explains Congress’ intent in adopting the URAA.

Statement of Administrative Action, H.R. DOC. NO. 103–316, at 912-13 (1994), reprinted in




4
 Findings of the Investigation into China’s Acts, Policies, and Practices Related to Technology
Transfer, Intellectual Property, and Innovation Under Section 301 of the
Trade Act of 1974 (U.S. Trade Rep. Mar. 22, 2018) (Section 301 Findings) at 11, available at
https://ustr.gov/sites/default/files/Section%20301%20FINAL.PDF (emphasis added).


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1994 U.S.C.C.A.N. 4040; 19 U.S.C. § 3512(d). The SAA also does not use the words

“retaliation” or “authority” when discussing the amendments to section 306. 1994 U.S.C.C.A.N.

at 4316. And in describing the WTO dispute resolution process, the SAA sets forth a process

whereby the USTR would retaliate after “seek[ing] authority from the [WTO Dispute Settlement

Body].” Id. at 4320.

       In fact, the only portions of section 306 that specifically include the word “retaliation,”

address it in the context of revising “retaliation lists,” and were added in 2000, five years after

the WTO entered into force. Trade and Development Act of 2000, Pub. L. No. 106-200, 114

Stat. 251; 19 U.S.C. §§ 2416(b)(2)(B), (E), (F). These provisions were added to require the

USTR to modify WTO authorized “retaliation lists” on a periodic basis. Id. For Congress to

require a rotation of WTO-authorized retaliation is not relevant to the discretionary modifications

of actions explicitly provided for in investigations under section 301(b) involving unfair trade

acts. Importantly, the challenged section 301 actions are not “retaliation;” rather, the sole

purpose of the challenged trade actions in this case was to pressure China to remedy its unfair

trade practices. Indeed, the USTR reduced the level of the trade action, as appropriate, when the

circumstances indicated that less pressure was required –— for example, by reducing certain

measures and suspending others once China began remedying its unfair trade practices.5

       Finally, plaintiffs and Ecolab suggest that, instead of invoking section 307(a)(1)(B), the

USTR should have commenced a new section 301 investigation. Pl. Cross-Mot. at 46; Ecolab

Br. at 11-12. But not only is there no statutory requirement to initiate a new section 301



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  Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to
Technology Transfer, Intellectual Property, and Innovation, 85 Fed. Reg. 3,741 (U.S. Trade Rep.
Jan. 22, 2020) (Notice Reducing List 4A); Notice of Modification of Section 301 Action: China’s
Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property, and
Innovation, 84 Fed. Reg. 69,447 (U.S. Trade Rep. Dec. 18, 2019) (Notice Suspending List 4B).


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investigation when the initial action needs to be modified, there is no need to do so because

Congress created a specific mechanism to modify an initial action under section 307, which was

used here. Plaintiffs’ (and Ecolab’s) policy preferences should not be converted into a hidden

statutory requirement that would bind the hands of the President and the USTR. If the President

and the USTR could counter China’s escalating unfair trade practices only by initiating a new

investigation, it would undermine the very reason Congress amended the Trade Act in 1988 to

add section 307, which was intended to allow section 301 “to pack [a] punch against unfair

trading practices,” and not let “the game deteriorate[]” if a foreign nation responds to a section

301 action with aggression. 133 CONG. REC. 40,486 (1987) (statement of Sen. Lautenberg); see

also 133 CONG. REC. 40,486 (1987) (statement of Sen. Levin)6; Def. Mot at 5-7 (explaining the

background of the 1988 amendments). The 1998 amendments to the Trade Act were meant to

produce more action, not less. S. REP. NO. 100-71 (1987), at 73-74; see also Transpacific, 4 F.4th

at 1329, 1331 (overturning an interpretation of a provision that would “disable the President

from acting,” noting that amendments to the Trade Act had the “purpose of producing more

action, not less — and of counteracting a perceived problem of inaction”).

       C.      Section 307(a)(1)(C) Authorized Lists 3 And 4A

       The President (and the USTR) also had clear authority to issue Lists 3 and 4A under

section 307(a)(1)(C), which authorizes an action under section 301 to be modified if the action

“is no longer appropriate.” Plaintiffs claim that the provision provides authority only “to reduce

or terminate an existing action after changed circumstances undermine the original finding that

certain responsive action was ‘appropriate.’” Pl. Cross-Mot. at 34. Plaintiffs point to the text of

subsection (C) and its neighboring provisions, the USTR’s allegedly “uniform” prior practice,


6
 Pages 5 and 38 of our opening brief contains incorrect citations to these quotations from
Senator Lautenberg and Senator Levin. The correct citation is 133 CONG. REC. 40,486 (1987).


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the doctrine of constitutional avoidance, and legislative history to support their interpretation.

Plaintiffs’ arguments in support of their unduly narrow construction of this provision lack merit.

               1.      Section 307(a)(1)(C) Is Neither Linked To, Nor Limited By,
                       Section 307(a)(1)(A)

        Plaintiffs first argue that section 307(a)(1)(A) supports their interpretation of section

307(a)(1)(C). Specifically, they claim that section 307(a)(1)(A) is “linked” to section

307(a)(1)(C), with subsection (A) only authorizing the USTR to terminate or ratchet down a

mandatory action, and subsection (C) only authorizing the USTR to terminate or ratchet down a

discretionary action. Pl. Cross-Mot. at 34-35. This interpretation, however, is unsupported by

the statute.

        Section 307(a)(1)(A), authorizes action when “any of the conditions described in [section

301(a)(2)] of this title exist.” Section 301(a)(2) is part of section 301(a), which involves

mandatory action based upon violations of trade agreements or other international legal rights of

the United States. See also 19 U.S.C. § 2411(d)(4)(A) (defining “unjustifiable” acts in the

context of whether the “act, policy, or practice is “in violation of, or inconsistent with, the

international legal rights of the United States”). But the China investigation is under section

301(b), which concerns discretionary action based upon unreasonable or discriminatory acts,

regardless of any international legal rights. See also 19 U.S.C. § 2411(d)(3)(A) (defining

“unreasonable” acts as those “not necessarily in violation of, or inconsistent with, the

international legal rights of the United States . .”). Thus, section 307(a)(1)(A) has nothing to do

with authorities relevant to the current investigation.

        Even aside from this threshold problem with plaintiffs’ argument, plaintiffs’ reliance on

section 307(a)(1)(A) fails on its own terms. As noted above, section 301(a) investigations –

unlike section 301(b) investigations – require mandatory action – meaning the USTR must take



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trade action unless the exceptions identified in section 301(a)(2) are met. Those exceptions

include when a foreign nation is taking steps to remediate its unfair trade practices, or action that

would have “an adverse impact on the United States economy.” 19 U.S.C. § 2411(a)(2)(B) (i)-

(v). Given the nature of the listed exceptions, plaintiffs argue that it logically follows that any

action under 307(a)(1)(A) would be to reduce, not increase, a tariff action.

       From this reading of section 307(a)(1)(A), plaintiffs make an extraordinary leap and

claim that an entirely different provision – section 307(a)(1)(C) – also can be invoked only to

terminate or ratchet down a tariff action. But this interpretation is belied by the very provisions

themselves. Section 307(a)(1)(A) provides for modification when an exception to mandatory

action exists, i.e., instances when the President or the USTR can chose not to take action, either

because the action would significantly harm the United States or the complained of conduct is

being remedied. In contrast, no analogous language providing permission not to take trade

action was needed with respect to section 301(b) investigations – because any such action is

discretionary. And section 307(a)(1)(C) provides for modification of certain discretionary

actions, i.e., instances where the President or the USTR chose to take action. Given this critical

difference, plaintiffs have no basis for asserting any alleged “link” between subsections (A) and

(C) exists, see Pl. Cross-Mot. at 35, or for characterizing the two provisions as “counterpart

section[s].” Id. at 25. If anything, the existence of section 307(a)(1)(A) supports that Congress

included other provisions — 307(a)(1)(B) and (C) — to address situations where the President

may need to increase measures.7




7
  Indeed, the fact that subsections 307(a)(1)(A) and (C) both exist demonstrates that they were
intended to accomplish different purposes; if they had been meant to achieve the same result,
Congress would not have enacted two separate subsections.


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                2.      Section 307(a)(1)(B) And Section 307(a)(1)(C) Both Contemplate
                        Escalation Of A Tariff Action

        Plaintiffs also claim, incorrectly, that our “textual argument conflates and commingles

the two distinct and limited modification provisions under subsections 307(a)(1)(B) and (C),”

urging the Court to find that only subsection (B) authorizes the USTR to “ratchet up tariffs.” Pl.

Cross-Mot. at 42. Our interpretation of these provisions, however, is specifically based on the

interpretations in the administrative record, is reasonable, and is consistent with the distinct roles

of these subsections, as reflected in the statute’s plain text.

        Section 307(a)(1)(B) can be invoked with respect to the entire range of section 301

actions whenever “the burden or restriction on United States commerce . . . that are the subject of

such action has increased or decreased.” 19 U.S.C. § 2417(a)(1)(B). Thus, this provision can

apply to any type of section 301 action, including mandatory actions taken in response to trade

agreement violations. Subsection (C), on the other hand, applies only to actions taken under one

type of investigation. The President or the USTR may rely on this provision when actions being

taken under section 301(b) — i.e., discretionary actions — are “no longer appropriate.”

        This distinction underlies the different roles played by subsections (B) and (C). As we

explained in our opening motion, the language in section 307(a)(1)(C) mirrors the language in

section 301(b)(2), with the latter setting forth the requirements for taking discretionary action in

response to a section 301 investigation. Def. Mot. at 27. Under section 301(b)(2), the President

or the USTR can take discretionary action, which consists of “all appropriate and feasible action

. . . to obtain the elimination of that act policy or practice” only if he first determines that “action

by the United States is appropriate.” 19 U.S.C. § 2411(b)(2) (emphasis added). Likewise, a

discretionary action can be modified under section 307(a)(1)(C) only if the USTR determines

that it is “no longer appropriate.” 19 U.S.C. § 2417(a)(1)(C) (emphasis added). In the case of



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mandatory action, on the other hand, section 301(a)(1) instructs that the USTR “shall take

action,” unless an exception exists under section 301(a)(2).

        Thus, while plaintiffs correctly recognize that subsections 307(a)(1)(B) and (C) play

distinct roles, plaintiffs have no basis for asserting that Congress divided them to allow the

President or the USTR to ratchet up tariffs under subsection (B) and ratchet down tariffs under

subsection (C). Pl. Cross-Mot. at 42. Rather, both subsections contemplate a possible escalation

(or de-escalation) of action, but subsection (C) harkens back to the language of section 301(b)

because Congress wanted to delegate to the Executive Branch the same discretion to determine

what discretionary actions are appropriate to “modify” as it has to determine what actions are

appropriate in the first place. Moreover, it makes no sense that Congress would grant broad

authority to increase or decrease a tariff action under subsection (B), but strictly limit authority to

“ratchet[ing] down” a tariff action under subsection (C), see Pl. Cross-Mot. at 42, without stating

this limitation in the plain text of the statute itself.

        Plaintiffs also inexplicably claim that the word “modify” in the introductory clause of

section 307(a)(1) allows an increase in measures for some, but not all subsequent subparts.

Specifically, plaintiffs claim that the introductory clause includes the phrase “modify or

terminate” rather than “reduce or terminate” because subsection (B) of this provision — and only

subsection (B) — explicitly contemplates an escalation of action. However, nothing in the text

of section 307(a)(1) suggests that the term “modify” in the introductory paragraph applies only to

subsection (B), or that the term has a different meaning when applied to different subsequent




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subparts.8 See 19 U.S.C. § 2417(a)(1); see also Agro Dutch Indus. Ltd. v. United States, 508

F.3d 1024, 1032 (Fed. Cir. 2007) (noting the “normal rule of statutory construction that identical

words used in different parts of the same act are intended to have the same meaning”); see also

Shanxi Hairui Trade Co. v. United States, 503 F. Supp. 3d 1307, 1318 (Ct. Int’l Trade 2021)

(denying plaintiffs’ “proposed statutory interpretation [that] would have the court ignore [the

statute’s] introductory clause”), appeal docketed, No. 21-2067 (Fed. Cir. June 17, 2021). Indeed,

if Congress wanted “modify” to apply only to subsection (B), it would have included the word

“modify” only in this subsection, not in the introductory clause that applies to all subsections.

Nor does anything in the neighboring provisions support reading such a consequential limitation

into subsection (C)’s plain text.

       Plaintiffs also allege that if our interpretation of section 307(a)(1)(C) is correct, the

Government would always rely on this provision to modify section 301(b) actions, as it “imposes

no fact-finding requirements.” Pl. Cross-Mot. at 43. But plaintiffs ignore that, in this case, the

USTR (at the President’s direction) relied on both subsections 307(a)(1)(B) and (C). Also, the

USTR in the administrative record cites facts in support of invoking both provisions.

Specifically, the USTR notices state the factual basis for finding that the action being taken was

no longer appropriate, and why a higher level of trade action was appropriate. Regardless,

plaintiffs’ speculative claim about how these provisions may be invoked in the future does not

change that section 307(a)(1)(C) grants the Executive Branch discretion to determine when




8
  Plaintiffs note that “[t]he term ‘modification,’ as applied to any duty or other import restriction,
includes the elimination of any duty or other import restriction.” Pl. Cross-Mot. at 6 (citing 19
U.S.C. § 2481(6)). As explained above, the legislative history of section 307 clarifies that a
“modification” may involve a reduction, elimination, or an increase in measures. See H.R. REP.
NO. 100-40, pt. 1, at 75-76 (1987); see also Def. Mot. at 7 n.3 (citing similar language in H.R.
REP. NO. 99-581, pt. 1 (1986), at 43).


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actions under section 301(b) are “no longer appropriate,” and to modify those actions through a

reduction, elimination, or increase in measures. Plaintiffs also fail to recognize that the President

and the USTR did explain here why the action was “appropriate.” Nor do they explain why

Congress would have permitted the President to reduce but not increase tariffs under subsection

C without fact-finding. Indeed, that view is at odds with the very purpose of the amendments to

the Trade Act.

       Finally, plaintiffs claim that our interpretation of section 307(a)(1)(C) would “trample”

other limitations in the Trade Act. But the fact that statutory provisions that are not at issue

contain investigatory or fact-finding requirements does not mean that the Court may limit section

307(a)(1)(C) in contravention of its plain language. Congress, had it wanted to, could have

added those same limitations to section 307(a)(1). It did not.

       Ultimately, there is good reason to conclude that Congress did not intend to limit the

President’s or the USTR’s modification authority under section 307(a)(1)(C) as plaintiffs urge

the Court to do. As we explained in our opening motion, if the Executive Branch could take

vigorous action in response to a section 301 investigation but not increase that action when

appropriate, it would leave the United States with no leverage in trade negotiations, and thus

powerless to respond to a foreign country’s worsening trade practices. Def. Mot. at 38. Such a

limitation would contradict the statute’s plain language, as well as Congress’s intent to use

section 301 as a “negotiating tool to ensure that foreign countries adhere to their trade agreement

obligations . . .” S. REP. NO. 100-71 at 73 (emphasis added).

       In sum, our interpretation of section 307(1)(a)(C) comports with the statute’s plain text

and overall scheme. Plaintiffs’ alleged “plain-text” reading of this provision, on the other hand,




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requires pages of explanation, a rewriting of the statute, and multiple inferences that defy logic

and congressional intent. Pl. Cross-Mot. at 34-37.

               3.      The USTR’s Past Practice Does Not Support Reading
                       A New Limitation Into The Plain Text Of Section 307(a)(1)(C)

       Next, plaintiffs allege that “[u]niform prior practice bolsters a limited construction of

USTR’s modification authority.” Pl. Cross-Mot. at 37. Plaintiffs point to the handful of times

that the USTR has invoked section 307(a)(1)(C), as well as a single case. Id. (citing

Transpacific, 4 F.4th at 1326). The USTR’s prior use of section 307(a)(1)(C), however, does not

establish a “uniform prior practice,” nor does Transpacific support plaintiffs’ “limited

construction” of this provision.

       China’s response to the initial 301 action is unprecedented. None of the prior instances in

which the USTR invoked 301 involved a foreign government that refused to cease its unlawful

practices and instead, adopted measures intended to pressure the United States to drop its section

301 trade action, like China did here. Indeed, in all of the prior instances involving use of this

provision, the foreign government took steps to remedy some or all of the investigated unfair

trade practices,9 or it requested review of its trade agreement with the United States.10 Thus,



9
  See Termination of Section 301 Investigation and Action Regarding the People’s Republic of
China’s Protection of Intellectual Property and Provision and Market Access to Persons Who
Rely on Intellectual Property Protection, 60 Fed. Reg. 12,582, 12,583 (U.S. Trade Rep. Mar. 7,
1995); see also Results of Out-Of-Cycle Review Under Section 182 and Termination of Action
Under Section 301(b): Intellectual Property Laws and Practices of the Government of Ukraine,
71 Fed. Reg. 5899 (U.S. Trade Rep. Feb. 3, 2006); Termination of Action: Protection of
Intellectual Property Rights by the Government of Honduras, 63 Fed. Reg. 35,633 (U.S. Trade
Rep. June 30, 1998); Modification of Action Under Section 301(b); Out-of-Cycle Review Under
Section 182; and Request for Public Comment: Intellectual Property Laws and Practices of the
Government of Ukraine, 70 Fed. Reg. 53,410, 53,411 (U.S. Trade Rep. Sept. 8, 2005).
10
  See Modification of Determination of Action Pursuant to Section 301 Concerning Canadian
Exports of Softwood Lumber; Opportunity for Comment, 57 Fed. Reg. 44,609 (U.S. Trade Rep.
Sept. 28, 1992).


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prior instances involving section 307(a)(1)(C), neither reflect a “uniform” or “unbroken” past

practice, Pl. Cross-Mot. at 37, 39, nor are they applicable to the instant matter.

       While plaintiffs cite the USTR’s internal deliberations regarding Lists 3 and 4A to claim

that its reliance on section 307(a)(1)(C) was somehow improper, their cherry-picked language

proves no such thing. Specifically, plaintiffs cite language in which the USTR recognizes that

action with respect to List 3 was unprecedented, see Pl. Cross-Mot. at 37 (citing PR-01 at 5),

without citing the sentence immediately preceding this language, in which the USTR states:

“We are not aware of any prior investigation where a U.S. trading partner has responded to a

section 301 action by refusing to consider a change to its policies, and instead has openly

adopted its own retaliatory measures.” PR-01 at 5. Plaintiffs’ selective quotation therefore omits

that in instances of U.S. trading partners responding to a section 301 action with aggressive

retaliation, no “uniform prior practice” — or any prior practice — exists.

       Finally, plaintiffs’ reliance on Transpacific is misplaced. Pl. Cross-Mot. at 37.

Transpacific involved a different statute, 19 U.S.C. § 1862, and the relevant statutory provisions

did not contain a provision similar to section 307 that specifically addressed the President’s

authority to modify an action. 4 F.4th at 1319. Nor did the legislative history of the 1988

amendments to the statute at issue in Transpacific contain language similar to that in, for

example, H.R. REP. NO. 100-40, pt. 1 at 75-76, which reflects clear congressional intent to

authorize “increased measures if further leverage or offsetting action is deemed necessary and

appropriate.” Nevertheless, the Federal Circuit concluded that the statute was not designed to

“disable” the President from taking additional actions if such action was necessary.

Transpacific, 4 F.4th at 1331. The Court should similarly avoid adopting a construction that

would hamstring the President’s ability to conduct foreign affairs, particularly since the statutory




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scheme’s intent to authorize the President to modify prior action is at least as clear here as it was

in Transpacific.

               4.      The Issuance Of Lists 3 And 4A Does Not Implicate Principles Of
                       Constitutional Avoidance

       Plaintiffs also claim that “principles of constitutional avoidance” support their

interpretation of section 307(a)(1)(C). Pl. Cross-Mot. at 36. “The so-called cannon of

constitutional avoidance is an interpretive tool, counseling that ambiguous statutory language be

construed to avoid serious constitutional doubts.” FCC v. Fox Television Stations, Inc., 556 U.S.

502, 516 (2009). Plaintiffs allege that our reading of section 307(a)(1)(C) would implicate this

canon because it would violate the non-delegation doctrine. They are wrong.

       As an initial matter, the canon of constitutional avoidance “comes into play only when,

after the application of ordinary textual analysis, the statute is found to be susceptible of more

than one construction.” Clark v. Martinez, 543 U.S. 371, 385 (2005). But section 307(a)(1)(C)

is unambiguous. As explained above, the statutory text allows the President or the USTR to

“modify” a tariff action by increasing that action.

       Even if susceptible to multiple constructions, our reading of section 307(a)(1)(C) does

not violate the non-delegation doctrine. Although this doctrine is rooted in the principle of

separation of powers, the Supreme Court has long recognized that “Congress simply cannot do

its job absent an ability to delegate power under broad general directives.” Mistretta v. United

States, 488 U.S. 361, 372 (1989) (citing Opp Cotton Mills, Inc. v. Adm’r, Wage & Hour Div. of

Dep’t of Lab., 312 U.S. 126, 145 (1941)). Thus, enactments which leave discretion to the

Executive Branch are permissible as long as they offer some “intelligible principle” to guide that

discretion. Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 472-76 (2001) (quoting J.W.

Hampton, Jr., & Co. v. United States, 276 U.S. 394, 409 (1928)).



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        The “intelligible principle” standard is not demanding. As this Court recently

recognized, “[s]ince 1935 no act has been struck down as lacking an intelligible principle.” Am.

Inst. for Int’l Steel, Inc. v. United States, 376 F. Supp. 3d 1335, 1339 (Ct. Int’l Trade 2019),

aff’d,806 F. App’x 982 (Fed. Cir.), cert. denied, 141 S. Ct. 133 (2020). For example, a statute

regulating broadcast licensing as “public interest, convenience, or necessity” was held to be

sufficient. Id. at 1339-40 (quoting Nat’l Broad. Co. v. United States, 319 U.S. 190, 225–26

(1943)). Notably, in Federal Energy Administration. v. Algonquin SNG, Inc., 426 U.S. 548, 559

(1976), the Supreme Court found that section 232(b) of the Trade Expansion Act of 1962

“easily” satisfied the “intelligible principle” test, in that it contains “clear preconditions” to

presidential action and “specific factors” to be considered. The Court also explained that “the

leeway that the statute gives the President” is “far from unbounded,” in that the President “can

act only to the extent ‘he deems necessary to adjust the imports of such article and its derivatives

so that such imports will not threaten to impair the national security.’” Id.

        Here too, section 307(a)(1)(C) easily satisfies the “intelligible principle” test, in that it

provides the President and the USTR clear guidance on how to exercise their discretion.

Specifically, a modification (including an increase in measures) is authorized only when a

section 301 action is “no longer appropriate.” 19 U.S.C. § 2417(a)(1)(C). Just as in Algonquin,

the leeway that section 307(a)(1)(C) provides is “far from unbounded.” Absent a determination

that the action being taken under section 301(b) is “no longer appropriate,” the USTR cannot

invoke section 307(a)(1)(C), and it is therefore constrained by the facts and circumstances of a

particular case. When the facts and circumstances changed in the present case, for example, the

USTR (at the direction of the President) responded by invoking section 307(a)(1)(C) to reduce




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List 4A and suspend List 4B. Notice Reducing List 4A, 85 Fed. Reg. at 3,741; Notice Suspending

List 4B, 84 Fed. Reg. at 69,447.

       Plaintiffs claim that we “admit [] the premise of th[e] non-delegation doctrine” in arguing

that section 307 contains no “judicially discoverable and manageable standard.” Pl. Cross-Mot.

at 37, 51. Not so. A statute that lacks a “judicially discoverable and manageable standard” can

still contain an “intelligible principle” for guiding the President or an agency in exercising its

discretion. Almond Bros. Lumber Co. v. United States, 721 F.3d 1320 (Fed. Cir. 2013), is one

such example. As we explained in our opening motion, Almond Bros. involved a statute that

authorizes the USTR to provide any trade benefits that it deems “satisfactory.” Id. at 1326-27.

The Federal Circuit found that “[w]hether those benefits were satisfactory is a question that is

committed to the discretion of the USTR and therefore beyond judicial review.” Id. at 1327.

       In Almond Brothers, just as in the present case, the fact that the USTR’s exercise of

discretion was beyond judicial review did not mean that the statute in question constituted an

unconstitutional delegation of authority. Pl. Cross-Mot. at 37. Nor does the fact that Congress

provided leeway under section 307(a)(1)(C) equate to a grant of “unfettered” or “unlimited

Executive Branch discretion,” see Pl. Cross-Mot. at 37, 46, or authority to “take any subsequent

trade action . . . without any limitation.” Pl. Cross-Mot. at 37 (emphasis in original). Instead,

Congress provided an “intelligible principle” for the Executive Branch to exercise its discretion

under this provision, such that it is limited by the facts and circumstances of each case. And,

once again, the USTR (acting at the President’s direction) exercised that discretion in the present

case both to increase measures by issuing Lists 3 and 4, and also to decrease measures by

reducing additional duties for List 4A and suspending List 4B once China began addressing its

unfair trade practices.




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               5.      Plaintiffs Misunderstand Section 307’s Operative Legislative History

       In our opening motion we also demonstrated that the legislative history underlying the

1988 amendments to the Trade Act demonstrated that Congress intended for the President (or the

USTR) to be able to increase tariffs under 307(a)(1)(C). Def. Mot. at 20, 28 n.5, 35-38. And, as

we demonstrate below, plaintiffs’ assertion that the legislative history cited in our opening

motion should be disregarded has no merit. Pl. Cross-Mot. at 45.

       First, plaintiffs contend that the version of the bill that was debated and adopted in both

chambers of Congress was “unenacted (and vetoed).” Pl. Cross-Mot. at 43. This argument is

misleading. The Federal Circuit has already recognized the relevance of the legislative history of

the prior bill in Transpacific. 4 F.4th at 1331 n.8. To the extent further explanation is helpful,

section 307 was added as part of the Omnibus Trade and Competitiveness Act of 1988, Pub. L.

No. 100-418, 102 Stat. 1107 (Trade Act of 1988), which has a lengthy legislative history. In

1987, the principle bill in the House of Representatives was H.R. 3, 100th Cong. (1987), which,

as amended, is the bill that accompanied H.R. REP. NO. 100-40, pt. 1, at 75-76, and was

discussed extensively in our opening motion. Def. Mot. at 3, 6, 35-36; Judith Hippler Bello &

Alan F. Holmer, The Heart of the 1988 Trade Act: A Legislative History of the Amendments to

Section 301, 25 STAN. J. INT’L L. 1, 3-9 (1988) (detailing the legislative history); 133 CONG. REC.

10,671, 10,812 (1987) (passing H.R. 3, as amended). The principal bill in the Senate was S. 490,

100th Cong. (1987), which was combined with several other bills to create S. 1420, 100th Cong.

(1987), the omnibus bill. Bello & Holmer, 25 STAN. J. INT’L L., at 7 n.32 and accompanying

footnotes; 133 CONG. REC. 20,476, 20,495 (1987) (passing the bill). Eventually, a conference

was convened to resolve the differences between the bills and Congress adopted the H.R. 3

conference outcome. See H.R. REP. NO. 100-576 (1988); 134 CONG. REC. H2278, H2284,




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H2375 (daily ed. Apr. 21, 1988) (House adopts conference report), 134 CONG. REC. 8880, 8978

(1988) (Senate adopts conference report).

       On May 24, 1988, the President vetoed the bill. 134 CONG. REC. H3531 (daily ed. June

16, 1988). H.R. 3 was reintroduced in the House one week later, as H.R. 4848, 100th Cong.

(1988), with only two modifications that are not relevant here. 134 CONG. REC. S7385 (daily ed.

July 13, 1988). The Senate then passed H.R. 4848 on August 3, 1988. 134 CONG. REC. 20,026,

20,104 (1988); 134 CONG. REC. 20,023 (1988) (statement of Sen. Stanford) (“I think it is too bad

we had to go through the political exercise of having this bill vetoed thereby delaying the

effectiveness of it. The fact that the plant-closing provisions have now become law and that the

same trade bill is once again before the Senate shows how uselessly political the veto was. The

President’s veto has unfortunately caused us hours and hours of additional work and the

expenditure of a great deal of time for a political maneuver that did not work.”). The President

signed H.R. 4848 into law on Aug. 23, 1988. Trade Act of 1988, 102 Stat. at 1107. Thus, as

Congress’s statements when it passed the bill that was ultimately enacted into law confirm, the

legislative history from the vetoed bill is the relevant legislative history. Also, plaintiffs cannot

seriously claim that legislative history becomes irrelevant just because a bill is subsequently

enacted following a presidential veto when they rely on the very same legislative history in a

different part of their brief. See Pl. Cross-Mot. at 43 (discussing H.R. REP. NO. 100-567 at 551

(1988)).

       Nor is there any merit to plaintiffs’ claim that the history we cite “discuss[es] language

that differs materially from the enacted text.” Pl. Cross-Mot. at 43-44. Plaintiffs note that the

original bill authorized the USTR to modify a section 301 action that was “not effective,”

whereas the enacted bill authorizes the USTR to modify a section 301 action when the burden on




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United States commerce has increased or decreased, or when the action is “no longer

appropriate.” Compare H.R. 3, as amended in May 1987, with 19 U.S.C. § 2417. Regardless of

the precise language ultimately used, however, the enacted bill, like the original version,

contemplates modifying a tariff action through a decrease or increase of measures, which

plaintiffs even admit. See Pl. Cross-Mot. at 42 (section 307(a)(1)(B) “allows USTR to ratchet up

tariffs when the investigated practice has worsened”). It is therefore untrue that we are trying to

“replace the actual text with speculation as to Congress’ intent.” Pl. Cross-Mot. at 45 (citations

and quotations omitted). This is also the only report from either chamber of Congress that we

could locate that sheds any light on what Congress intended when it enacted section

307(a)(1)(C). See also Def. Mot. at 7 n.3 (citing a similar provision from a House bill from 1986

discussed in H.R. REP. NO. 99-581, pt. 1, at 43). The Senate’s bill, S. 1420 at 154, did not

contain similar language, and the conference report H.R. REP. NO. 100-576, at 564-65, supports

that the Senate “reced[ed]” to the House position.

       Further, the fact that Congress changed the words “not effective” in the original House

version of the bill makes sense, given that section 307(a)(1)(C) now contains the words “no

longer appropriate,” thereby mirroring section 301(b)(2). Once again, as explained above, the

enacted bill authorizes the Executive Branch to take discretionary action that it deems

“appropriate” under section 301(b)(2), and to modify that action under section 307(a)(1)(C) if it

deems it “no longer appropriate.” See 19 U.S.C. § 2411(b)(2) (emphasis added); see also 19

U.S.C. § 2417(a)(1)(C) (emphasis added). Thus, the change in language between the original

and the enacted bills can be explained by Congress’s intent to grant the Executive Branch the

same broad discretion to determine what discretionary actions are appropriate to modify as it has

to determine what discretionary actions are appropriate initially.




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       Regardless, nothing suggests, as plaintiffs claim, that the change in language reflects a

change in “the scope of USTR’s authority” under section 307(a)(1)(C), see Pl. Cross-Mot.at 43,

or Congress’s intent to impose a sweeping limitation on the Executive Branch’s authority that

was absent in the original text. See id. at 43. If Congress intended to so drastically limit the

Executive Branch’s authority under section 307, one would expect some discussion in the

legislative history, given its clear intent to authorize modification through increased measures.

See H.R. REP. NO. 100-40, pt. 1, at 75-76 (modifications could be “additional or increased

measures”). Given this clear intent, the lack of any discussion to the contrary, and, most

important, the plain language of the enacted text, the Court should find that section 307(a)(1)(C)

authorizes the President and the USTR to increase a tariff action.

III.   If The Challenged Actions Constitute Agency Action, And If The APA Applies,
       USTR’s Actions Fall Within The Foreign Affairs Exception, And The USTR
       Complied With All Relevant APA Requirements

       Even if the Court concludes that the issuance of Lists 3 and 4A constituted agency action,

it qualifies for the “foreign affairs function” exception, and the APA’s notice-and-comment

requirements do not apply. Def. Mot. at 39-44. In any case, the challenged actions were not

arbitrary and capricious, in excess of statutory authority, or otherwise not in accordance with the

law, see id. at 50-60, and the USTR fully complied with all requirements mandated by section

307. Id. at 44-48.

       A.      The Challenged Actions Qualify For The Foreign Affairs Exception

       Plaintiffs first claim that Lists 3 and 4A were not “foreign affairs functions” since public

rulemaking would not provoke “definitely undesirable international consequences.” Pl. Cross-

Mot. at 62. However, “definitely undesirable international consequences” is only an example of

a foreign affairs function in the APA’s legislative history. Def. Mot. at 40, n.8; see also Mast

Indus., Inc. v. Regan, 596 F. Supp. 1567, 1581 (Ct. Int’l Trade 1984) (“the phrase ‘clearly


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provoke definitely undesirable international consequences’ appears illustrative”). Not every

circuit that has considered this matter requires a foreign affairs function to have “definitely

undesirable international consequences,” an analysis that would raise nonjusticiable political

questions, and the Federal Circuit has not decided the issue. Def. Mot. at 40 n.8 (citing, e.g.,

City of New York v. Permanent Mission of India of United Nations, 618 F.3d 172, 202 (2d Cir.

2010)). Instead, the Court should find that the exception applies here because Lists 3 and 4A

clearly relate to a foreign affairs function.

        Plaintiffs also claim that this exception is typically invoked for agency action

“implementing international agreements,” whereas Lists 3 and 4A were issued “pursuant to a

domestic statute . . . not an international treaty that the Government had already negotiated.” Pl.

Cross-Mot. at 62-63. However, as the Federal Circuit has noted, the “negotiation . . . of

international agreements” falls within the foreign affairs function exception. Am. Ass’n of Exps.

& Imps. v. United States, 751 F.2d 1239, 1249 n.16 (Fed. Cir. 1985). And, as plaintiffs readily

admit, Lists 3 and 4 undoubtedly relate to the negotiation of an international trade deal with

China. See, e.g., Pl. Cross-Mot. at 19 (increase in List 3 duty rate based on failed “negotiations”

with China); id. at 23 (suspension of List 4B duties and reduction of List 4A duties followed a

“recently negotiated limited trade deal with China”).

        Plaintiffs also argue that an agency’s rule does not constitute a foreign affairs function

simply because it relates to the President’s overall “political agenda” or had “some entanglement

with foreign affairs more generally.” Pl. Cross-Mot. at 64. In the case of Lists 3 and 4A,

however, the related political agenda had more than a mere “indirect” or “downstream effect[]”

on foreign affairs, as plaintiffs claim. Id. at 63. The President personally discussed List 3 with

President Xi of China, see id. at 17 (citing THE WHITE HOUSE, STATEMENT FROM THE PRESS




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SECRETARY REGARDING THE PRESIDENT’S WORKING DINNER WITH CHINA (Dec. 1, 2018)), which

among other things, demonstrates that the challenged tariff actions were “clearly and directly

involved in a foreign affairs function.” Def. Mot. at 39-40.

       Finally, we do not invoke the foreign affairs function exception to “duck” any statutory

obligations under section 307. Pl. Cross-Mot. at 61. As explained in our opening motion, the

USTR provided interested parties all the procedures required under its enabling statute. Def.

Mot. at 44-48. Rather, by qualifying for the foreign affairs function exception, see id. at 42-44,

the challenged actions in this case are exempt from the additional notice-and-comment

requirements of the APA.

       B.      The USTR’s Actions Were Not Arbitrary And Capricious Or In Excess Of
               Statutory Authority, And Were In Accordance With Law

       Even if the Court finds that the APA applies, the USTR provided interested parties all

required procedures. Thus, there is no merit to the assertions raised by plaintiffs and RLC that

the Government failed to provide a meaningful opportunity to submit comments regarding Lists

3 and 4A. Pl. Cross-Mot. at 54-61; RLC Br. at 10-13, 15.

               1.      The Notice Announcing List 3 Complied With The APA

       Plaintiffs first allege that the USTR violated the APA’s notice requirements because it

relied on section 307(a)(1)(B) in issuing — but not in requesting comments regarding — List 3.

Pl. Cross-Mot. at 55-56. As a result, plaintiffs claim, the USTR “failed to provide an opportunity

to comment on the legal and factual predicate underlying its reliance on Section 307(a)(1)(B) in

the final notice.” Pl. Cross-Mot. at 56. This claim is unfounded.

       An agency does not need to include its “legal and factual predicate” in the notice of a

proposed rule. Rather, the APA requires only that an agency provide “either the terms or

substance of the proposed rule or a description of the subjects and issues involved.” 5 U.S.C.



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§ 553(b)(3); see Mid Continent Nail Corp. v. United States, 846 F.3d 1364, 1373 (Fed. Cir.

2017) (a notice only needs to “fairly apprise interested parties of the issues involved.”) (internal

citations omitted). Here, the USTR provided the entire proposed List 3 in a 118-page Annex

accompanying its request for comments, thereby providing the “terms or substance” of the

proposed rule and plainly satisfying 5 U.S.C. § 553(b)(3).11

       If any doubt remains, “[t]he dispositive question in assessing the adequacy of notice

under the APA is whether an agency’s final rule is a ‘logical outgrowth’ of an earlier request for

comment.” Mid Continent, 846 F.3d at 1373 (internal quotations and citations omitted). The

logical outgrowth test requires an interested party to be able to anticipate the final rule itself —

not the final rule’s “legal and factual predicate,” see Pl. Cross-Mot at 56 — based on the

agency’s request for comment. Here, List 3 was undoubtedly a “logical outgrowth” of the 118-

page Annex accompanying the USTR’s request for comment. In fact, plaintiffs’ objection to List

3 is that it did not change enough from the proposed rule. Pl. Cross-Mot. at 59-60. The fact that

the USTR did not cite section 307(a)(1)(B) as a legal authority in its request for comments has

no bearing on whether List 3 was a logical outgrowth of the proposed rule.

       In any case, plaintiffs fail to articulate how not citing section 307(a)(1)(B) in the request

for comment deprived any interested party of a meaningful opportunity to comment on List 3.

Pl. Cross-Mot. at 14. Plaintiffs cite no comment that would have differed if the USTR had cited

section 307(a)(1)(B) in the request for comment. Although the public comments reflect the

trading community’s significant interest in List 3, which the USTR considered before issuing a




11
  Request for Comments Concerning Modification of Action Pursuant to Section 301: China’s
Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property, and
Innovation, 83 Fed. Reg. 33,608, 33,610-728 (U.S. Trade Rep. July 17, 2018) (Request for
Comments for List 3).


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final rule, they do not demonstrate that the precise legal basis for the USTR’s authority was

“critical” to interested parties, see id. at 55, or that List 3’s request for comments in any way

deprived them of an opportunity to comment on the applicable legal basis.

                2.      The USTR Provided A Meaningful Opportunity To Comment

         Plaintiffs and RLC also allege that they had no “meaningful opportunity” to comment on

the challenged tariff actions due to the timing of affirmative and rebuttal comments, the time

allotted for witnesses to testify at public hearings, and the total amount of time allotted to public

comment. Pl. Cross-Mot. at 56-59; RLC Br. at 10-11, 13, 15. None of these arguments have

merit.

         First, RLC contends that there was no “meaningful opportunity” to comment because of

the scope of the tariffs, which did not take into account that delivery schedules and supply chains

are set up “months in advance,” RLC Br. at 12, but cites nothing that would require the USTR to

provide a comparable notice-and-comment period of 12 months or even years, in response to

these concerns. As explained in our opening motion and further below, the USTR more than

provided a meaningful opportunity for interested parties to comment on proposed Lists 3 and 4A,

including providing sufficient time for both affirmative and post-hearing rebuttal comments

(even though post-hearing rebuttal comments were not required). Def. Mot. at 50-55.

         Turning to plaintiffs’ and RLC’s objections regarding the timing of post-hearing rebuttal

comments, as we explained in our motion, the APA does not require the USTR to provide post-

hearing rebuttal comments or a public hearing. Def. Mot. at 51-55. Plaintiffs essentially

concede this point, arguing instead that, if the USTR decides to provide for such additional

procedures, then it is “not free to short-circuit that process.” Pl. Cross-Mot. at 58; see also RLC

Br. at 11 (objecting to the submission of initial and rebuttal comment on the same day). But

none of the procedures that the USTR provided were “short-circuited.”


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        With respect to the post-hearing rebuttal comments, plaintiffs and RLC misconstrue the

purpose of those comments, which was to allow parties to respond to arguments raised at the

hearing and not to rebut initial written comments. Def. Mot. at 53. Also, plaintiffs cite nothing

in support of their position that “‘rebuttal comments’ by definition must address comments that

came before them,” and could not be limited to rebutting positions expressed at the hearing. Pl.

Cross-Mot at 57.

        Plaintiffs’ objection to not having extensive time to “review the thousands of written

comments filed by other parties before developing and submitting their rebuttal comments” is

also unpersuasive. Pl. Cross-Mot. at 57; see also RLC Br. at 10-11. Nowhere in their lengthy

brief do plaintiffs explain why they would need to rebut any of the initial written comments (or,

for that matter anything discussed at the hearing), when, as the administrative record

demonstrates, the written commenters and hearing participants overwhelmingly agreed with the

plaintiffs’ position, that the tariffs should not go into effect.

        Nor is there any merit to plaintiffs’ contention that the USTR allotted more time only

after proposing a higher duty rate for List 3. Pl. Cross-Mot. at 58. As explained in our opening

motion, regardless of the reason, the three extra weeks provided for affirmative comments, and

one extra week provided for post-hearing rebuttal comments, clearly resulted in a meaningful

opportunity for comment.12

        Plaintiffs also incorrectly claim that it was arbitrary and capricious for the USTR to limit

List 4 rebuttal comments to “rebutting or supplementing testimony at the hearing,” when it did



12
   Extension of Public Comment Period Concerning Proposed Modification of Action Pursuant
to Section 301: China’s Acts, Policies, and Practices Related to Technology Transfer,
Intellectual Property, and Innovation, 83 Fed. Reg. 38,760, 38,761 (U.S. Trade Rep. Aug. 7,
2018) (Extension of List 3 Comment Period).



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not similarly limit rebuttal comments for the List 1, 2 or 3 tariff actions. Pl. Cross-Mot. at 57.

Contrary to plaintiffs’ assertions, the Federal Register notices announcing Lists 1-3 all referred

to “post-hearing rebuttal comments.”13 The fact that the USTR more explicitly stated in the

Federal Register notice for List 4 that the purpose of post-hearing rebuttal comments was to

respond or supplement statements made at the hearing does not establish that the USTR changed

its practices when issuing List 4.

       Plaintiffs’ complaints about the details of the public hearing — i.e., the time allotted for

each witness to testify, see Pl. Cross-Mot. at 13, 56, the number of questions asked of each

witness, see id. at 13-14, the timing of written submissions with respect to the hearings, see id. at

13, 21, and the total length of the hearings, id. at 13, 26 — fare no better. There is no basis for

finding that the public hearings for Lists 3 and 4 were deficient when they involved multiple

days, hundreds of witnesses, and the opportunity to later rebut or supplement witness testimony,

particularly when the APA requires no public hearings in the first place. 5 U.S.C. §§ 556, 557.

       Plaintiffs also contest our assertion that Lists 3 and 4A were issued in response to an

urgent need for action, see Def. Mot. at 55, dismissing this as a “post hoc ‘exigency’ rationale.’”

Pl. Cross-Mot. at 55. However, the rationale for urgently issuing Lists 3 and 4A cannot be post

hoc when it is based on contemporaneous, presidential directives. Def. Mot. at 55. Nor does the

fact that List 4A was issued two years after the underlying section 301 investigation “belie [our]




13
   E.g., Notice of Determination and Request for Public Comment Concerning Proposed
Determination of Action Pursuant to Section 301: China’s Acts, Policies, and Practices Related
to Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 14,906 (U.S. Trade
Rep. Apr. 6, 2018) (List 1); Notice of Action and Request for Public Comments Concerning
Proposed Determination of Action Pursuant to Section 301: China’s Acts, Policies, and
Practices Related to Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg.
28,710 (U.S. Trade Rep. June 20, 2018) (June 2018 Notice of Action) (List 2); Extension of List 3
Comment Period, 83 Fed. Reg. at 38,761.


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claims of urgency.” Pl. Cross-Mot. at 58. Indeed, the entire reason for responding to China’s

unfair trade practices in tranches, or “lists” of additional duties was to determine the appropriate

action at each point in time, as negotiations with China progressed. Regardless, as we explained

in our opening motion, the overall time provided by the USTR for public comment — seven

weeks for List 3, and six weeks for List 4A — demonstrates that plaintiffs had more than ample

opportunity for comment. Def. Mot. at 55.

       Finally, plaintiffs and RLC have “failed to identify any substantive challenges [they]

would have made had [they] been given additional time.” Omnipoint Corp. v. FCC, 78 F.3d 620,

630 (D.C. Cir. 1996) (internal citation omitted); see also Air Transp, Ass’n of Am, v. Civ.

Aeronautics Bd., 732 F.2d 219, 224 n.11 (D.C. Cir. 1984) (finding harmless error where

petitioner “[did] not explain what it would have said had it been given” an opportunity to

respond).

       3.      The USTR Considered All Relevant Factors And Responded
               To Public Comments In Accordance With The APA

       Our opening motion explained that the USTR considered the comments submitted by

interested parties and based its decisions on the relevant factors set forth in sections 307(a)(1)(B)

and (C). Def. Mot. at 56-59. We also explained that either provision could serve as an

independent basis for action. Id. In response, plaintiffs allege that because the USTR based its

decisions on “impermissible considerations,” namely, on China’s retaliatory actions, Lists 3 and

4A “cannot stand.” Pl. Cross-Mot. at 60. RLC also erroneously contends that the USTR failed

meaningfully to consider comments raised by interested parties. RLC Br. at 12-15. As we

explain below, there is no merit to either claim.

       First, plaintiffs cite a statement in our opening motion — that the “USTR was not

required to find any increased burden on U.S. commerce in order to modify the section 301



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action,” see Pl. Cross-Mot. at 60 — which they take out of context to argue that the “original

‘burden’ finding” in the section 301 investigation cannot support modifying an action under

section 307(a)(1)(B). Pl. Cross-Mot. at 61. We never made this argument. Instead, our motion

explained that a burden finding was not required for Lists 3 and 4A because section 307(a)(1)(C)

provided an independent basis for action, and section 307(a)(1)(C) does not require any finding

with respect to the burden on United States commerce. Def. Mot. at 36 n.6, 57.

       Also, plaintiffs concede that the USTR made changes to Lists 3 and 4A in response to

public comment, but still claim that the agency’s response was insufficient. Pl. Cross-Mot. at

59-60 (noting that the USTR determined not to include certain tariff subheadings); RLC Br. at 15

(contending that the USTR failed to consider “substantial objections”). Plaintiffs cite no

authority that requires the USTR to identify specifically “which comments, and what concerns

raised” caused it to withdraw “certain tariff headings and products but not others.” Id. Also,

plaintiffs and RLC ignore that the USTR twice delayed increasing List 3 tariffs from 10 percent

to 25 percent duties, and established exclusion processes for both lists, all in an effort to ease the

burden on the domestic industry. Def. Mot. at 58. Thus, there is no merit to plaintiffs’

contention that the USTR failed to respond to public comments in a “reasoned manner.” Pl.

Cross-Mot. at 59.

       Although RLC identifies specific concerns about the tariffs that were raised during the

public comment process, RLC Br. at 15, those concerns about the merits of the tariffs do not

change the fact that the process for issuing Lists 3 and 4A complied with all relevant APA

requirements. Likewise, RLC alleges that Lists 3 and 4A act as “a hidden tax for consumers on

everyday products,” affecting products from lightbulbs to baby cribs, see RLC Br. at 14-15, and

that the challenged tariff actions will have a “disruptive impact on the supply chains of U.S.




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retailers, manufacturers, and producers.” Id. at 15. None of these purported policy critiques for

issuing the lists provides a legal basis for overturning the tariffs. Once again, the USTR

considered all public comments, including those submitted by RLC, and it responded in a

reasoned manner in compliance with the APA.

        Finally, RLC cites a number of articles to try and demonstrate that the harm they warned

against did in fact materialize. RLC Br. at 15-16. These articles are not part of the

administrative record and should not be considered by the Court. In any event, the proffered

evidence regarding the effects of Lists 3 and 4A does not demonstrate that the notice-and-

comment procedures followed in the issuance of Lists 3 and 4A were deficient.

        In sum, if the Court finds that this case involves agency action subject to the APA, then it

should also find that the challenged actions complied with the APA’s notice-and-comment

requirements.

IV.     The Court Should Dismiss The Claims Raised By Interested Party Plaintiffs

        Finally as explained below, the Court should dismiss the claims raised in the Amicus

Curiae Brief of Interested Parties (Am. Br.), because those parties do not possess either

Constitutional or statutory standing. Moreover, relief may generally be provided to importers of

record who paid the challenged duties.

        A.      Non-Importers Lack Standing To Seek Refunds Of Section 301 Tariffs

        The Amicus Curiae Brief of Interested Parties is submitted on behalf of “certain

plaintiffs, who are interested parties that bear or bore the cost of the List 3 and/or List 4A tariffs,

irrespective of importer of record status.” Am. Br. at 1. The Interested Party Plaintiffs (IPPs)

claim to have “incurred significant costs . . . either as the importer of record directly responsible

for such duties or as an ultimate consignee or purchaser required to pay them as a part of the




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transaction for the imported goods.” Id. at 4. They request that any relief be “not limited to an

importer of record,” but rather, “available to those who bear or have borne the cost of the tariffs

pursuant to List 3 or List 4A, and who have filed a complaint.” Id. at 1.

       As an initial matter, the IPPs appear to represent members of the United States’ vast

supply chain network, including consignees, purchasers, and importers, and the relief they

request — that refunds be “available to those who have borne the cost of tariffs” — potentially

encompasses numerous additional parties, such as manufacturers, producers, and other

consumers. The IPPs, however, have provided virtually no information about the parties they

seek to represent, and their broad request that monetary relief be “available” to any company that

potentially “bore the cost” of section 301 tariffs should be summarily rejected. See McMorris v.

Carlos Lopez & Assocs., LLC, 995 F.3d 295, 302 (2d Cir. 2021) (“determining standing is an

inherently fact-specific inquiry that requires careful judicial examination of a complaint’s

allegations to ascertain whether the particular plaintiff is entitled to an adjudication of the

particular claims asserted.”) (citation and internal quotation omitted).

       Even if the IPPs had provided more information about who they purport to represent,

non-importers of record lack standing to challenge the Lists 3 and 4A tariff actions, and the

Court therefore lacks jurisdiction to entertain their request for relief. As explained below, any

potential relief in this case is limited to specifically-identified importers of record because

importers of record — not consignees, purchasers, or other “interested parties” — paid the

challenged tariffs. See 19 C.F.R. § 141.1(b) (“[t]he liability for duties, both regular and

additional, attaching on importation, constitutes a personal debt due from the importer to the

United States …”). Consumers who may pay increased costs as part of a downstream transaction

fall far outside the zone of interests protected by sections 301 and 307, the purpose of which is to




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eliminate acts, policies, or practices of foreign governments that are unreasonable,

discriminatory, or burden or restrict United States commerce.

                1.      The Interested Party Plaintiffs Lack Article III Standing

        To establish constitutional standing, a party seeking to invoke federal jurisdiction must

satisfy three requirements. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). First, the party

must show that it has suffered an “injury in fact” that is both concrete and particularized, and

actual or imminent (as opposed to conjectural or hypothetical). Id. at 560. “Second, there must

be a causal connection between the injury and the conduct complained of—the injury has to be

‘fairly ... trace[able] to the challenged action of the defendant, and not ... th[e] result [of] the

independent action of some third party not before the court.’” Id. at 560 (quoting Simon v. E. Ky.

Welfare Rts. Org., 426 U.S. 26, 41–42 (1976)). Third, the party must show that it is likely, rather

than merely speculative, that a favorable judicial decision will redress the injury. Id. at 561.

        The IPPs claim to have incurred economic harm “as an ultimate consignee or purchaser

required to pay [the duties] as a part of the transaction for the imported goods.” Am. Br. at 4.

But consignees and purchasers are not directly responsible for paying section 301 duties. The

IPPs concede as much. Am. Br. at 3-4 (noting that importers of record are “directly responsible

for” duties). In Perry Chemical Corp. v. United States, 375 F. Supp. 3d 1324, 1332 (Ct. Int’l

Trade), reconsideration denied, 415 F. Supp. 3d 1260 (Ct. Int’l Trade 2019), this Court

dismissed for lack of standing a claim brought by a non-importer seeking to compel the

Department of Commerce to issue modified liquidation instructions to Customs and Border

Patrol (CBP). The Court held that, “with respect to entries for which Perry was not the importer

and did not pay the cash deposits, Perry suffered no ‘injury in fact,’ as Perry paid nothing on

these entries and was not impacted by their liquidation.” Perry Chem. Corp., 375 F. Supp. 3d at




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1332. The Court emphasized that Perry did not have a particularized injury related to the relief it

sought — reliquidation of all entries — because it did not pay cash deposits for all entries. Id. at

1333.

        The reasoning in Perry governs here. The IPPs request the Court to confirm that “relief

is available to those who bear or have borne the cost of the tariffs[.]” Am. Br. at 1. But Lists 3

and 4A imposed duties on products from China that consignees, purchasers, and other

downstream consumers did not pay. Thus, like the plaintiff in Perry, the IPPs do not have an

injury in fact tied to the relief they seek.

        While some economic injuries can be established through indirect “economic logic,” see

Am. Br. at 3, the IPPs have made no such showing. They vaguely assert that the “costs” of the

section 301 duties were passed on to them “as a part of the transaction for the imported goods.”

Am. Br. at 4. But these allegations establish no “particularized” injury that affects the IPPs in a

“personal and individual way.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1548 (2016), as revised

(May 24, 2016). Moreover, injury “shared in substantially equal measure by all or a large part of

the populace” does not suffice. McKinney v. U.S. Dep’t of Treasury, 799 F.2d 1544, 1551 (Fed.

Cir. 1986). The injury that the IPPs claim — increased costs to downstream consumers — is

exactly the type of “shared,” non-particularized injury that cannot establish constitutional

standing. Am. Br. at 7.

        Other than generalized, conclusory statements, the IPPs present no evidence of the

“economic harm” they have or will allegedly suffer. Unlike the plaintiffs in Invenergy

Renewables LLC v. United States, 422 F. Supp. 3d at 1273, who alleged harm to “existing and

future projects” if the revocation of an exclusion were not reversed, the IPPs proffer no

allegations or evidence with respect to the price that their suppliers previously charged, or will




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charge in the future, for any particular product. The generalized nature of plaintiffs’ claimed

injury is especially palpable under the facts of this case, in which the challenged tariffs applied to

$500 billion worth of imported products from China across more than 1,000 different tariff

subheadings.14

       In short, the tenuous allegation that “[p]laintiffs’ injuries are related to the payment of

tariffs and impact on prices of imported products” is too conjectural, remote, and abstract to

establish a particularized and concrete injury-in-fact. Am. Br. at 7; see also Nat’l Treasury

Emps. Union v. United States, 101 F.3d 1423, 1427 (D.C. Cir. 1996) (injuries must be “certainly

impending,” not conjectural, hypothetical, speculative, abstract, or remote); see also Gen. Elec.

Co. v. United Techs. Corp., 928 F.3d 1349, 1353 (Fed. Cir. 2019), cert. denied sub nom. Gen.

Elec. Co. v. Raytheon Techs. Corp., 140 S. Ct. 2820 (2020) (“expend[ing] some unspecified

amount of time and money” too speculative to establish a real or imminent injury).

       Nor does the “competitor standing” doctrine confer standing over the IPPs’ claims. Am.

Br. at 3. “For the competitor standing doctrine to apply, the government action must change the

competitive landscape by, for example, creating new benefits to competitors.” Gen. Electric,

928 F.3d at 1354. “Put another way, the government action must alter the status quo of the field

of competition.” Id. The IPPs, however, do not allege that they “may lose sales to rivals, or be

forced to lower [their] price or to expend more resources to achieve the same sales, all to the

detriment of [their] bottom line.” See Sherley v. Sebelius, 610 F.3d 69, 72 (D.C. Cir. 2010).

Moreover, the facts in this case are materially distinguishable from the facts in Canadian Lumber




14
   June 2018 Notice of Action, 83 Fed. Reg. at 28,711 (818 tariff subheadings); Notice of Action
Pursuant to Section 301: China’s Acts, Policies, and Practices Related to Technology Transfer,
Intellectual Property, and Innovation, 83 Fed. Reg. 40,823 (U.S. Trade Rep. Aug. 16, 2018) (279
tariff subheadings).


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Trade Alliance v. United States, 517 F.3d 1319, 1332 (Fed. Cir. 2008), see Am. Br. at 3, in which

the Government’s action of distributing duties to domestic producers — effectively subsidizing

American competitors — caused economic injury to Canadian producers in the form of increased

competition. Unlike the domestic subsidies in Canadian Lumber, the section 301 tariffs apply

equally to all importers with products subject to the duties.”15

       Further, alleging a procedural violation alone is insufficient to confer standing. Am. Br.

at 4. “Article III standing requires a concrete injury even in the context of a statutory violation.

For that reason, [the IPPs] could not, for example, allege a bare procedural violation, divorced

from any concrete harm, and satisfy the injury-in-fact requirement of Article III.” Spokeo, 136

S. Ct. at 1549. To be sure, the IPPs “may be ‘interested part[ies]’ under the statute, and therefore

able to petition the agency, and yet not have Article III standing to bring this action in federal

court.” Gettman v. DEA, 290 F.3d 430, 433 (D.C. Cir. 2002) (citing Fund Democracy, LLC v.

SEC, 278 F.3d 21, 27 (D.C. Cir. 2002)) (bracketing by court). “Participation in agency

proceedings is alone insufficient to satisfy judicial standing requirements.” Id.




15
   Clinton v. City of New York, 524 U.S. 417 (1998) is also distinguishable. Am. Br. at 3. In that
case, the President exercised his authority under the Line Item Veto Act to cancel section 968 of
the Taxpayer Relief Act of 1997, which permitted owners of certain food refiners and processors
to defer payments of capital gains taxes. Clinton, 524 U.S. at 423. The Supreme Court held that
a farmers’ cooperative possessed standing to challenge the President’s cancellation of section
968 because: (1) “Congress enacted § 968 for the specific purpose of providing a benefit to a
defined category of potential purchasers of a defined category of assets,” and the “members of
that statutorily defined class received the equivalent of a statutory ‘bargaining chip’ to use in
carrying out the congressional plan to facilitate their purchase of such assets;” (2) “the President
selected § 968 as one of only two tax benefits . . . that should be canceled,” and (3) the
“cooperative was organized for the very purpose of acquiring processing facilities, it had
concrete plans to utilize the benefits of § 968, . . . it was engaged in ongoing negotiations with
the owner of a processing plant who had expressed an interest in structuring a tax-deferred sale,”
and “it is actively searching for other processing facilities for possible future purchase if the
President's cancellation is reversed[.]” Id. at 432. Far from helping the IPPs’ case, Clinton only
highlights how generalized, remote, hypothetical, and conjectural their claimed injury is.


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        Also, the IPPs’ injury is not traceable to the Government’s actions. Their injury is based

entirely on the actions of third parties, i.e., the price third-party suppliers decide to charge.

Business decisions made by third-party suppliers and plaintiffs’ purported failure to negotiate

more beneficial terms for themselves cannot constitute injury traceable to the Government.

Because the injury alleged is entirely dependent on the future, independent actions of third

parties, there is no causal connection between the injury and the section 301 tariffs. See Lujan,

504 U.S. at 560-61.

        Finally, a favorable judicial decision would not redress the claimed injury. CBP

regulations provide that refunds of excessive duties “shall be certified for payment to the

importer of record,” subject to certain limited exceptions that are not present here. 19 C.F.R.

§ 24.36. Thus, a favorable judicial decision would result in refunds to the importers of record; it

would not redress any past or future “costs” that plaintiffs’ allegedly incurred due to independent

third party “transaction[s] for the imported goods.” Am. Br. at 4; see Warth v. Seldin, 422 U.S.

490, 505 (1975) (overturning ordinance that precluded third-party developers and builders from

constructing housing at prices affordable to the plaintiffs, because it would not redress claimed

harm); Arjay Assocs., Inc. v. Reagan, 707 F. Supp. 1346, 1347-48 (Ct. Int’l Trade), aff’d sub

nom. Arjay Assocs., Inc. v. Bush, 891 F.2d 894 (Fed. Cir. 1989) (manufacturers’ representatives

lacked standing to contest sanctions that resulted in fewer orders from importer); Int’l Lab. Rts.

Fund v. United States, 391 F. Supp. 2d 1370, 1375 (Ct. Int’l Trade 2005) (dismissing 19 U.S.C. §

1307 complaint for lack of redressability due to Court’s recognized inability to control the use of

child labor on cocoa farms in the Ivory Coast); Fund for Animals v. Norton, 295 F. Supp. 2d 1, 7-

8 (D.D.C. 2003) (alleged injury to public interest group could not be redressed by banning the




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importation of endangered Mongolian argali sheep trophies, because ban would not affect

Mongolian government’s granting of hunting permits, as well as poaching).

                2.      The Interested Party Plaintiffs Lack Statutory Standing

        Even if the IPPs have constitutional standing, they are not within the “zone of interests”

addressed by sections 301 or 307. In addition to the constitutional requirements of standing

under Article III, the Supreme Court “has also referred to a plaintiff’s need to satisfy ‘prudential’

or ‘statutory’ standing requirements.” Bank of Am. Corp. v. City of Miami, 137 S. Ct. 1296,

1302 (2017). “The question is whether the statute grants the plaintiff the cause of action that he

asserts.” Id. Said another way: statutory standing concerns “whether the interest sought to be

protected by the complainant is arguably within the zone of interests to be protected or regulated

by the statute or constitutional guarantee in question.” Ass’n of Data Processing Serv. Orgs.,

Inc. v. Camp, 397 U.S. 150, 153 (1970) (in the APA context).

        The IPPs claim they are within the zone of interests “protected by [s]ection 301” because

“[p]laintiffs are companies who engage in international trade and participate in U.S.

commerce[.]” Am. Br. at 7. Section 301’s zone of interest, or that of section 307 — the

statutory provision actually invoked in this case — is not so broad. To the contrary, the IPPs’

interest in paying cheaper prices as a consumer is wholly “inconsistent with the purposes implicit

in,” and at best, only “marginally related” to, section 301’s broader purpose of protecting United

States commerce. See Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak,

567 U.S. 209, 225 (2012); see also S. REP. NO. 100-71, at 80 (purpose of section 301 is to

“vigorously pursue appropriate action . . . to respond to . . . unfair foreign acts, policies, or

practices.”); 19 U.S.C. § 2417(a)(1)(B) (authorizing the modification of action when the “burden

. . . on United States commerce” has increased). Such an interpretation would allow virtually




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any consumer to file suit challenging the President’s discretionary decision to take action to

eliminate unfair and discriminatory foreign practices. This is exactly the type of disruption to the

statutory scheme that the Supreme Court has cautioned against. Block v. Cmty. Nutrition Inst.,

467 U.S. 340, 352-53 (1984); see also Leaf Tobacco Exps. Ass’n, Inc. v. Block, 749 F.2d 1106,

1108 (4th Cir. 1984) (“the zone test works to prevent groups outside of the class from usurping

the legislative entitlement.”).

        Nor is it dispositive that “Section 301 contemplates the inclusion of a wide range of

affected parties in the implementation process[.]” Am. Br. at 7. As explained above with respect

to Article III standing, “[p]articipation in agency proceedings is alone insufficient to satisfy

judicial standing requirements.” Gettman, 290 F.3d at 433. Moreover, as the Supreme Court has

made clear, not every consumer who alleges harm falls within a statute’s zone of interests. In a

case involving claims for false advertising under the Lanham Act, for example, the Court

reviewed the statute’s broad authorization allowing “suit by ‘any person who believes that he or

she is likely to be damaged’ by a defendant’s false advertising.” Lexmark Int’l, Inc. v. Static

Control Components, Inc., 572 U.S. 118, 129 (2014) (quoting 15 U.S.C. § 1125(a)(1) (2014)).

Despite this broad authorization — which lacks any equivalent under section 301 — the Court

determined that “a business misled by a supplier into purchasing an inferior product is, like

consumers generally, not under the [Lanham] Act’s aegis.” Lexmark, 572 U.S. at 132; see also

McKinney, 799 F.2d at 1552 (trade statute had “[n]o stated or implied intention . . . to protect the

consuming public from the importation of goods produced by forced labor,” even though it

barred imports manufactured using forced labor). Similar to “consumers generally,” see

Lexmark, 572 U.S. at 132, or the purchaser of any product, non-importers lack standing to ask

for refunds or “relief” for Section 301 duties that they did not pay.




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       Finally, setting aside these standing issues, it is unclear what relief the IPPs can actually

obtain. Money damages are unavailable under the APA. See Bowen v. Massachusetts, 487 U.S.

879 (1988).

       B.      Should Plaintiffs Prevail, Relief May Be Afforded Only To Importers Of
               Record That Are Directly Responsible For Paying Section 301 Duties

       In the final portion of their brief, the IPPs suggest that the Court should “order refunds

irrespective of the status of an importer[.]” Am. Br. at 9. In making this argument, the IPPs do

not cite a single case commenced under 28 U.S.C. § 1581(i) in which the Court granted

monetary relief to non-importers of record, and we are aware of no such case.

       Indeed, all of the cases cited by the IPPs are inapposite. United States v. Williams, 514

U.S. 527, 530 (1995), for example, involved the disbursement of sale proceeds directly to the

Government (specifically, the Internal Revenue Service), see Am. Br. at 10, whereas the IPPs

pay no section 301 duties. The Gilda case is also distinguishable, in that plaintiffs were

importers of toasted breads subject to, and responsible for paying, a 100 percent retaliatory duty.

Am. Br. at 10; Gilda Indus., Inc. v. United States, 446 F.3d 1271, 1275 (Fed. Cir. 2006).

Moreover, plaintiffs in Canadian Lumber did not request monetary relief. See Am. Br. at 10

(citing Canadian Lumber, 517 F.3d at 1325) (seeking declaratory judgment and injunction).

While the Court found that customs brokers had standing in Richard L. Jones Calexico, Inc. v.

United States, 30 CIT 1030, 1037 (2006), see Am. Br. at 11, that holding has no relevance here,

as the Court held that the brokers were “acting as an agent of the importer.” Calexio, 30 CIT at

1037; Am. Br. at 11. The IPPs cannot, and do not, allege that they are agents of importers of

record. Further, offering monetary relief to non-importers would potentially result in an

overpayment of duties paid on the same transaction – the importer would be refunded the duties




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if plaintiffs prevail, and an additional party to the transaction would receive a monetary judgment

as well, potentially resulting in monetary payments that exceed the amounts paid.

                                         CONCLUSION

       For these reasons, we respectfully request that this Court dismiss plaintiffs’ amended

complaint for failure to state a claim or, alternatively, grant judgment for defendants upon the

administrative record.

                                                   Respectfully submitted,

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                            CERTIFICATE OF COMPLIANCE

       I, Elizabeth Speck, an attorney in the Office of the Assistant Attorney General, Civil

Division, Commercial Litigation Brach, who is responsible for the Government’s motion to

dismiss or, alternatively, motion for judgment on the agency record, dated October 1, 2021,

relying upon the word count feature of the word processing program used to prepare the

memorandum, certify that this memorandum complies with the word count limitation ordered in

the Scheduling Order of April 13, 2021 and contains 16,618 words.

                                                            /s/ Elizabeth A. Speck
